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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADVENTIST HEALTH SYSTEM SUNBELT
HEALTHCARE CORPORATION,

                                 Plaintiff,                           ORDER

                     -against-                                    23-cv-7031 (ER)

MULTIPLAN, INC.,

                                 Defendants.


         At the October 20, 2023 conference, the Court raised the possibility of recusal on the

basis it has a ﬁnancial interest in non-parties Aetna and Humana. At the Court’s request, the

parties have submitted letters stating their respective positions on recusal, and both waived

arguments as to conﬂicts of interest based on that ﬁnancial interest. Docs. 50 & 57.

         Accordingly, the Court will retain the case and reschedule the premotion conference

concerning Defendant’s anticipated motion to dismiss (Doc. 34). �e pre-motion conference will

be held on November 14, 2023 at 11:30 AM by telephone. �e parties are reminded to call (877)

411-9748 and enter access code 3029857# when prompted.

         SO ORDERED.

Dated:    November 7, 2023
          New York, New York
                                                                    Edgardo Ramos, U.S.D.J.
